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dr Case 1:04-cv-01197-.]DT-STA Document 41 Filed 07/15/05 Page 1 of 2 Page|D 20

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

EASTERN DIVISION l=',(
’ 8
MARYLAND CASUALTY COMPANY, %;U( /52 P
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Plaimiff, afge "-@% 5
op’)v C`oz,,‘;'°'»
VS. NO. 04-1197-T “°°"'<»~

L & H SUPPLY COMPANY, INC.,
et al.,

Defendants.

ORDER OF REFERENCE

The Motion for Limited Extension of Diseovery and to Strike Designation of Expert
Witr)ess are hereby referred to United States Magistrate Judge Thomas Anderson for
disposition

IT IS SO ORDERED.

[)?¢/VWD.DH»/

JAME . TODD
UNIT STATES DISTRICT .TUDGE

Thls document entered on the docket sheet In compllance
with nme 53 and.'or_?e (a) FncP on 7' '

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Honorable J ames Todd
US DISTRICT COURT

